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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

 DAVID MATSON and BARBARA                             §
 MATSON, individually and on behalf                   §
 of all others similarly situated,                    §
                                                      §
             Plaintiffs,                              §
                                                      §         CASE NO. SA-19-CV-0717-JKP
 v.                                                   §
                                                      §
 NIBCO, Inc.,                                         §
                                                      §
             Defendant.                               §


     PLAINTIFFS’ UNOPPOSED MOTION TO MODIFY SCHEDULING ORDER
   AND FOR LEAVE TO FILE SECOND AMENDED CLASS ACTION COMPLAINT

            Plaintiffs David Matson and Barbara Matson, individually and on behalf of all others

similarly situated (“the Class”), ask the Court to grant them leave to file their Second Amended

Complaint, and respectfully show the Court as follows:

                                                   I.
                                              INTRODUCTION

            1.       Plaintiffs seek leave of Court to file their Second Amended Class Action Complaint

pursuant to Rule 15, and in the interests of justice. Plaintiffs, for themselves and on behalf of a

putative class of homeowners, seek to recover damages against Defendant, NIBCO, Inc.

(“NIBCO”) for claims related to allegedly defective plumbing tubing and fixtures. This suit

includes two subclasses of homeowners, one in Texas and one in Alabama. Plaintiffs are Texas

homeowners; the Second Amended Class Action Complaint adds an additional Alabama

homeowner.




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                                                     II.
                                          PROCEDURAL HISTORY

            2.       Plaintiffs filed this suit on June 19, 2019 [Dkt. 1] and amended their Class Action

Complaint on April 27, 2020 [Dkt. 33]. The class claims include two sub-classes of affected

homeowners, one in Texas and another in Alabama. Plaintiffs are Texas homeowners. NIBCO was

the manufacturer and seller of the defective plumbing goods.

            3.       On July 18, 2019, Yolanda Garrett filed her Class Action Complaint against

NIBCO in the United States District Court for the Northern District of Alabama, Southern

Division, case number 2:19-cv-01137-SGC (the “Alabama Suit”). In the Alabama Suit, Garret

seeks to recover for herself and a putative class damages arising out of the same allegedly defective

plumbing products that are at issue in this suit.

            4.       On September 16, 2020, the Plaintiffs and Defendant participated in a mediation

that resulted in an agreement in principle to settle claims for both the Texas and Alabama sub-

classes. Garret participated in the mediation through counsel in an effort to reach a global

settlement.

            5.       Since the conclusion of the successful mediation, Plaintiffs, Garret, and Defendant

have negotiated the terms of a final settlement, concluding in a formal, written settlement

agreement. That settlement agreement contemplates Garret being added to this suit so this Court

may preside over the parties’ request to certify a class and approve the settlement.

            6.       On May 18, 2020 [Dkt. 36], the Court entered a Scheduling Order that includes a

deadline of October 30, 2020 to amend pleadings and add parties.

            7.       Contemporaneously with the filing of this Motion for Leave to Amend, Plaintiffs

are also filing their unopposed Motion for Preliminary Approval of the class action settlement.



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                                                III.
                                      ARGUMENT AND AUTHORITIES

            8.       A party may amend its pleadings with leave of court, and “leave shall be freely

given when justice so requires.” Fed. R. Civ. P. 15(a)(2). Where, as here, the deadline to amend

has passed, the Court must first determine whether to modify the scheduling order under the Rule

16(b)(4) good cause standard. See S & W Enters., L.L.C. v. South Trust Bank of Ala., N.A., 315

F.3d 533, 536 (5th Cir.2003). If the movant meets the good cause standard of Rule 16(b)(4), the

court then determines whether to grant leave under the more liberal standard of Rule 15(a)(2). Id.

            9.       The court is to consider the following four factors when determining whether leave

should be granted under Rule 16(b)(4): “(1) the explanation for the failure to timely move

for leave to amend; (2) the importance of the amendment; (3) potential prejudice in allowing the

amendment; and (4) the availability of a continuance to cure such prejudice.” Id.

            10.      Here, Plaintiffs delayed seeking leave to amend because the parties were still

negotiating the final terms of their settlement agreement, which terms included whether to have

Garret join this suit. The amendment is necessary to effectuate the terms of the parties’ settlement

as well as the efficient administration of the procedures the Court must employ in determining

whether to certify the class and approve the settlement. There is no prejudice in allowing the

amendment; indeed, Defendant does not oppose this Motion for Leave because it too desires the

peace that comes with a final settlement. As there is no prejudice, the availability of a continuance

is moot.

            11.      Accordingly, the Court should modify the Scheduling Order to extend the deadline

by which the parties must amend pleadings and add parties. The Court should then grant leave for

Plaintiffs to file their Second Amended Class Action Complaint in the interests of justice.



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            12.    Plaintiffs’ proposed Second Amended Class Action Complaint is attached to this

Motion as Exhibit A.

                                              IV.
                                 SUMMARY AND PRAYER FOR RELIEF

            WHEREFORE, PREMISES CONSIDERED, Plaintiffs ask the Court to modify the

Scheduling Order and grant them leave to file their Second Amended Complaint, together with

all such other relief to which they may be entitled.

            Respectfully submitted this 22nd day of December 2020.



                                                  Respectfully submitted,

                                                  /s/ Robert E. Linkin

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                                                  ATTORNEYS FOR PLAINTIFFS
                                                  David Matson and Barbara Matson,
                                                  Individually, and on Behalf of All Others
                                                  Similarly Situated


                                   CERTIFICATE OF SERVICE

        This is to certify that on this the 22nd day of December, 2020, a true and correct
copy of the foregoing Plaintiffs’ Unopposed Motion to Modify Scheduling Order and for
Leave to File Second Amended Class Action Complaint has been served on all counsel of
record via the Court’s electronic filing system, pursuant to the Federal Rules of Civil
Procedures.

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